Case 1:21-cr-00003-RCL Document 100 Filed 11/24/21 Page 1 of 1

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

vs Case No. 1:21-cr-003 (RCL)
JACOB ANTHONY CHANSLEY,

Defendant.

 

ORDER
This Court hereby ORDERS that a status conference be set on November 29th at 2:00PM.
The status conference will proceed with defendant Jacob Chansley and all purported counsel,
including John M. Pierce and Albert Watkins, in attendance. In light of the approaching procedural
deadline imposed by Federal Rule of Appellate Procedure 4(b)(1)(A)(i), the status conference is

necessary to confirm defendant’s counsel of record.

Itis SO ORDERED.

Date: November @% 2021 Cour C. Lutte

Hon. Royce C. Lamberth
United States District Judge
